
PEEK, J.
We issued an order to show cause in this matter so that we might consider whether petitioner would be entitled to relief by writ of habeas corpus in the event we should determine that an appeal did not lie from a order adjudging him insane and committing him to a state hospital pursuant to sections 1368 et seq. of the Penal Code.
In People v. Fields, ante, p. 538 [42 Cal.Rptr. 833, 399 P.2d 369], filed this day, it is concluded that petitioner is entitled to appeal. No other basis appears for issuance of the writ.
The order to show cause is discharged, and the petition for writ of habeas corpus is denied.
Traynor, C. J., MeComb, J., Peters, J., Tobriner, J., and Schauer, J.,* concurred.
